               Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 1 of 7




1    William F. Auther (Bar No. 014317)
     BOWMAN AND BROOKE LLP
2    Suite 1600, Phoenix Plaza
     2901 North Central Avenue
3    Phoenix, Arizona 85012
     Direct: (602) 643-2300
4    Fax: (602) 248-0947
     Minute Entries: mme@phx.bowmanandbrooke.com
5
     Attorneys for Defendant
6    Toyota Motor Sales, U.S.A., Inc.

7

8                               UNITED STATES DISTRICT COURT

9                                       DISTRICT OF ARIZONA

10

11   Patricia Nance, as an individual and as the   )
     surviving spouse of decedent Kevin Lee        )
12   Nance, and for and on behalf of all statutorily
                                                   )      No. ______________________
     authorized wrongful death claimants including )
13   Karlton Nance and Kalei Nance, surviving      )
     children of decedent Kevin Lee Nance and      )      DEFENDANT TOYOTA MOTOR
14   Katie Lee Nance, surviving parent of decedent )      SALES, U.S.A., INC.'S NOTICE OF
     Kevin Lee Nance,                              )      REMOVAL ACTION (DIVERSITY)
15                                                 )
                                 Plaintiffs,       )
16                                                 )      (JURY TRIAL DEMANDED)
     vs.                                           )
17                                                 )
     Toyota Motor Sales, U.S.A., Inc., a foreign   )
18   corporation; Toyota Motor Corporation; Toyota )
     Motor Engineering & Manufacturing North       )
19   America, Inc.; Takata Corporation, Inc.;      )
     Takata, Inc.; TK Holdings; TK Holdings, Inc.; )
20   Takata Restraint Systems, Inc.; Takata        )
     Seatbelts, Inc.; Tokai Rika Co., Ltd.; South  )
21   Coast Toyota; John Does 1-10; Jane Does 1- )
     10; ABC Corporations 1-10; XYZ Companies      )
22   1-10, inclusive,                              )
                                                   )
23                              Defendants.        )
                                                   )
24                                                 )
                                                   )
25

26          Pursuant to the terms and provisions of 28 U.S.C. §§ 1441 and 1446, Toyota

27   Motor Sales, U.S.A., Inc. ("TMS") files this Notice of Removal of this cause to the United

28   States District Court for the District of Arizona.
                                                    1
                 Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 2 of 7




1
                                                  I.
2
                                       NATURE OF THE CASE
3
            1.      This case arises from a single-vehicle accident that occurred on Forest
4
     Service Highway 505 near the intersection of Forest Service Road 743 near milepost
5
     437.5 on September 19, 2010 in Coconino County, Arizona.             Decedent Kevin Lee
6
     Nance ("Nance") was driving his 1999 Toyota 4Runner when he left the roadway,
7
     allegedly lost control of the vehicle, and rolled several times. Nance suffered fatal
8
     injuries as a result of the accident.
9
            2.      Plaintiffs filed their Original Complaint on September 12, 2010, and their
10
     First Amended Complaint on December 10, 2012, asserting causes of action for strict
11
     products liability, negligence, and breach of warranty based on alleged defects with the
12
     4Runner. The suit was filed in the Superior Court for the State of Arizona, in and for the
13
     County of Coconino, as Patricia Nance, as an individual and as the surviving spouse of
14
     decedent Kevin Lee Nance, and for and on behalf of all statutorily authorized wrongful
15
     death claimants including Karlton Nance and Kalei Nance, surviving children of
16
     decedent Kevin Lee Nance and Katie Lee Nance, surviving parent of decedent Kevin
17
     Lee Nance v. Toyota Motor Sales, U.S.A., Inc., a foreign corporation; Toyota Motor
18
     Corporation; Toyota Motor Engineering & Manufacturing North America, Inc.; Takata
19
     Corporation, Inc.; Takata, Inc.; TK Holdings; TK Holdings, Inc.; Takata Restraint
20
     Systems, Inc..; Takata Seat Belts, Inc.; Tokai Rika Co., LTD.; South Coast Toyota; John
21
     Does 1-10; Jane Does 1-10; ABC Corporations 1-10; XYZ Companies 1-10, currently
22
     pending as cause No. CV2012-00609. The case is, therefore, properly removable to
23
     this District and Division as it embraces the location of where this action is pending.
24
                                                  II.
25
                                        REMOVAL IS TIMELY
26
            3.      TMS was first served with a summons and Plaintiffs' First Amended
27
     Complaint on December 14, 2012. Accordingly, this Notice of Removal has been filed
28
                                                  2
                 Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 3 of 7




1
     within thirty days of receipt of service. Further, more than one year has not passed
2
     since the commencement of this action in state court. 28 U.S.C. § 1446.
3
                                                   III.
4
                       BASIS FOR REMOVAL – DIVERSITY JURISDICTION
5
            4.      This case may be removed to this Court pursuant to the provisions of 28
6
     U.S.C. § 1441(a) because it is a civil action brought in a state court of which the District
7
     Courts of the United States have original jurisdiction. This Court has jurisdiction over
8
     this action under the provisions of 28 U.S.C. § 1332 because "the amount in
9
     controversy exceeds the sum or value of $75,000, exclusive of interests or costs, and
10
     [it] is between . . . citizens of different states." 28 U.S.C. § 1332(a)(1).
11
     A.     CITIZENSHIP OF PLAINTIFFS
12
            5.      According to Plaintiffs' First Amended Complaint, Plaintiff Patricia Nance is
13
     and was at the time of filing this suit, a resident of the state of Arizona.
14
            6.      Upon information and belief, Plaintiffs Karlton Nance, Kalei Nance, and
15
     Katie Lee Nance are and were at the time of filing this suit, residents of the state of
16
     Arizona.
17
     B.     CITIZENSHIP OF DEFENDANTS
18
            7.      Defendant TMS was at the time of the filing of this suit and still is a
19
     California Corporation with its principal place of business in California.
20
            8.      Defendant Toyota Motor Engineering & Manufacturing North America, Inc.
21
     was at the time of filing of this suit and still is a Kentucky Corporation with its principal
22
     place of business in Kentucky.
23
            9.      Defendant Toyota Motor Corporation was at the time of filing of this suit
24
     and still is a foreign corporation with its principal place of business in Japan.
25
            10.     Defendant TK Holdings Inc., improperly identified as TK Holdings, Inc. and
26
     TK Holdings, was at the time of filing of this suit and still is a Delaware corporation with
27
     its principal places of business in Michigan and North Carolina.
28
                                                    3
               Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 4 of 7




1
            11.    Upon information and belief, defendants Takata Restraint Systems, Inc.,
2
     Takata Seat Belts, Inc., and Takata, Inc. were merged into TK Holdings Inc. and no
3
     longer exist. TK Holdings Inc. was at the time of filing of this suit and still is a Delaware
4
     Corporation with its principal place of business in Michigan and North Carolina.
5
            12.    Upon information and belief, there is no company named Takata
6
     Corporation, Inc.    Upon information and belief, Takata Corporation is a foreign
7
     corporation with its principal place of business in Tokyo, Japan.
8
            13.    Upon information and belief, Tokai Rika Co., LTD is a foreign corporation
9
     with its principal place of business in Japan.
10
            14.    Upon information and belief, South Coast Toyota is a d/b/a of DWWCM,
11
     Inc. Upon information and belief, DWWCM, Inc. is a California corporation with its
12
     principal place of business in California.
13
            15.    Plaintiffs also brought this action against fictitious parties John Does 1-10,
14
     Jane Does 1-10, ABC Corporations 1-10, and XYZ Companies 1-10. The citizenship of
15
     these parties is not relevant for purposes of removal. See 28 U.S.C. § 1441(a) ("For
16
     purposes of removal under this chapter, the citizenship of defendants sued under
17
     fictitious names shall be disregarded.").
18
            16.    Accordingly, the requisite diversity of citizenship under 28 U.S.C. § 1332 is
19
     satisfied because none of the Defendants are citizens of Arizona, and thus all
20
     Defendants are citizens of states different from Plaintiffs Patricia Nance, Karlton Nance,
21
     Kalei Nance, and Katie Lee Nance.
22
     C.     AMOUNT IN CONTROVERSY
23
            17.    This Court has original subject matter jurisdiction over this action pursuant
24
     to 28 U.S.C. § 1332. Although not specifically pled, the amount in controversy in this
25
     wrongful death suit is in excess of $75,000, exclusive of interest and costs. Plaintiffs
26
     seek damages for past and future loss of love, affection, companionship, care,
27
     protection and guidance; as to Plaintiff Patricia Nance, past and future loss of the
28
                                                  4
               Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 5 of 7




1
     marital relationship; past and future pain, grief, sorrow, anguish, stress, shock and
2
     mental suffering; past and future loss of income and services; funeral and burial
3
     expenses; medical care and services; and punitive and exemplary damages.
4
     Therefore, it is clear from Plaintiffs pleadings that they seek damages in excess of
5
     $75,000 exclusive of costs and interest.
6
                                                 IV.
7
                                 NOTICE TO THE STATE COURT
8
            18.     TMS will file with the Superior Court of Coconino County, Arizona, a
9
     Notice of Removal to Federal Court, and provide written notice to Plaintiffs
10
     simultaneously with/or immediately after the filing of this Notice of Removal. A copy of
11
     the Notice of Removal filed in state court is attached as Exhibit "A."
12
                                                 V.
13
                            STATE COURT PLEADINGS PROVIDED
14
            19.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 3.6(b), copies of all
15
     pleadings and documents filed in the state court proceeding are attached as Exhibit "B."
16
     Upon information and belief, these are true and complete copies of all pleadings and
17
     other documents filed in the state court proceeding as of January 11, 2013.
18
                                                 VI.
19
                                     CONSENT TO REMOVAL
20
            20.     Toyota Motor Engineering & Manufacturing North America, Inc.; Takata,
21
     Inc.; TK Holdings Inc.; Takata Restraint Systems, Inc.; and Takata Seat Belts, Inc. all
22
     have been served with a summons and Plaintiffs' First Amended Complaint at the time
23
     of this filing, are also represented by counsel for TMS, and all consent to the removal of
24
     this action.
25

26

27

28
                                                  5
                 Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 6 of 7




1
                                                 VII.
2
                                        JURY DEMANDED
3
             22.    TMS demands a jury be empaneled to try the facts and issues of this
4
     case.
5
             WHEREFORE, PREMISES CONSIDERED, Defendant Toyota Motor Sales,
6
     U.S.A., Inc. respectfully requests this Notice of Removal of Action be filed; that the civil
7
     action pending in the Superior Court for the State of Arizona, in and for the County of
8
     Coconino with Cause No. CV2012-00609 be removed to and proceed in this Court; that
9
     no further proceedings be had in the Superior Court of Coconino County, Arizona; and
10
     for any further relief, both at law or in equity, to which TMS shall show itself justly
11
     entitled.
12
             DATED this 14th day of January, 2013.
13

14                                                    BOWMAN AND BROOKE LLP

15

16                                                    By: /s/ William F. Auther
                                                          William F. Auther
17                                                        Suite 1600, Phoenix Plaza
                                                          2901 North Central Avenue
18                                                        Phoenix, Arizona 85012
                                                          Attorneys for Defendants
19

20

21

22

23

24

25

26

27

28
                                                  6
              Case 3:13-cv-08011-FJM Document 1 Filed 01/14/13 Page 7 of 7




1                                   CERTIFICATE OF SERVICE

2          I hereby certify that on January 14, 2013, I electronically transmitted the foregoing

3    Notice of Removal Action (Diversity) to the Clerk's office using the CM/ECF System for

4    filing and transmittal, and mailed a copy of the foregoing document via First-Class Mail,

5    postage prepaid, to the following counsel:

6
                                              Bryn R. Johnson
7                                             THE MCKAY JOHNSON FIRM, PLC
                                              1019 S. Stapley Drive
8                                             Mesa, Arizona 85204
                                              Bryn@AccidentLawAz.com
9                                             480-833-1667

10                                            Attorneys for Plaintiffs

11
                                                      /s/ Alice Murphy
12

13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                  7
